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                           No. 21-4025
  _____________________________________________________________

   UNITED STATES COURT OF APPEALS FOR THE SIXTH CIRCUIT
  _____________________________________________________________


                              KARL FUGATE,
                                          Plaintiff-Appellee,
                                    v.
                              RONALD ERDOS,
                                          Defendant-Appellant.


                         ____________________

             On Appeal from the United States District Court
                     for the Southern District of Ohio
            No. 1:19-cv-00030, District Judge Timothy S. Black
                         ____________________

         BRIEF FOR PLAINTIFF-APPELLEE KARL FUGATE
                     ____________________



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                   CORPORATE DISCLOSURE STATEMENT

      Pursuant to Sixth Circuit Rule 26.1, Plaintiff-Appellee makes the following

disclosure:

      1.       Plaintiff-Appellee is not a subsidiary or affiliate of a publicly owned

company.

      2.       There is no publicly owned corporation, not a party to this appeal, that

has a financial interest in the outcome of this appeal.


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                                INTRODUCTION

      The “precise scope” of this Court’s interlocutory jurisdiction in a defendant’s

appeal from an order denying qualified immunity is whether “the plaintiff’s version

of facts demonstrates a violation of clearly established rights.” Ouza v. City of

Dearborn Heights, 969 F.3d 265, 277-278 (6th Cir. 2020).

      Here is what happened according to Plaintiff-Appellee Karl Fugate. After

Fugate, then a prisoner at Southern Ohio Correctional Facility, assaulted a

corrections officer, cutting the officer’s cheek with a piece of metal, other officers

dragged Fugate into a room without cameras and beat him senseless. They battered

Fugate, who was already pepper-sprayed and restrained, so badly that the prison

doctor immediately called an ambulance to take him to a hospital emergency room.

      When Fugate got back from the hospital, Defendant-Appellant Warden Ron

Erdos ordered him to be held in solitary confinement—locked in a segregated and

doubly-secured “J1 slammer-cell.”         On Fugate’s first morning in solitary

confinement, Erdos personally visited Fugate’s cell and threatened, “If you do

anything else to my staff, we’re going to beat the fuck out of you again.” But the

true harassment began later that morning.

      Under Erdos’s orders, Fugate was strip searched three times a day for thirty

days—90 times in total.      Erdos’s only purported justification was to uncover

contraband weapons that Fugate supposedly could have been hiding underneath his



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clothes. But Fugate was in solitary confinement, and under Fugate’s account, it was

impossible for him get remotely close to other inmates or to otherwise obtain

contraband of any kind. On top of that, Erdos’s then-governing “post-order”

required slammer-cell inmates to be strip searched twice a day. For only Fugate,

however, Erdos ordered his men to conduct a third daily strip search between

midnight and 2:00 a.m. And to make the strip searches even more humiliating, Erdos

ordered that Fugate’s first and several subsequent strip searches be conducted by

seven or eight men, far more than necessary to secure Fugate and search for weapons.

      Erdos never concedes these facts. Instead, his appellate arguments principally

attack the District Court’s conclusions that a reasonable jury could find that Erdos

had no penological purpose for ordering Fugate’s 90 strip searches and that he

maliciously ordered them as punishment for Fugate’s assault on his officer. Only at

the end of his opening brief does Erdos discuss whether Fugate’s rights were clearly

established. But even then, Erdos proceeds on his own preferred set of facts, as

though Fugate’s facts never existed.

      Once Fugate’s version is accepted as true, as it must be, this case is

straightforward. Fugate had a clearly established Fourth Amendment right not to be

strip searched without any penological purpose; a clearly established Fourth

Amendment right not to be strip searched by more officers than those serving a




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penological purpose; and a clearly established Eighth Amendment right not to be

maliciously strip searched as a form of punishment. Erdos violated those rights.

      This Court should either dismiss the appeal for lack of jurisdiction or affirm

the District Court’s denial of qualified immunity.

                       STATEMENT OF JURISDICTION

      This Court lacks jurisdiction over Erdos’s appeal because it does not fall

within the narrow exceptions permitting appeal of a non-final order.           Erdos

consistently—and impermissibly—challenges the “sufficiency” of the evidence the

District Court relied upon when ruling that Erdos is not entitled to qualified

immunity. Ouza, 969 F.3d at 276. When Erdos—nearing the end of his brief—does

raise purely “legal argument[s]” (Opening Br. 38-47), he still “fails to concede the

most favorable view of the facts” to Fugate and “instead relies solely on his version

of the facts.” Adams v. Blount County, 946 F.3d 940, 950-951 (6th Cir. 2020). This

Court therefore lacks jurisdiction over the appeal. Id.; see also Gillispie v. Miami

Township, 18 F.4th 909, 917 (6th Cir. 2021) (following Adams and dismissing entire

appeal for this reason).

                STATEMENT OF THE ISSUES FOR REVIEW

      1. Whether this Court lacks jurisdiction over the appeal because Erdos fails to

accept Fugate’s version of events at this stage and instead argues the evidence and

an alternative version of facts.



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       2. Whether this Court lacks jurisdiction over Erdos’s arguments at pages 17

through 36 of his opening brief because they impermissibly challenge whether

sufficient evidence supports the District Court’s view of the record.

       3. Whether, to the extent appellate jurisdiction exists, the District Court

correctly ruled that a reasonable jury could find that Erdos ordered more officers

than necessary to strip search Fugate on at least one occasion; that Erdos ordered

Fugate’s strip searches without any penological justification; and that Erdos

maliciously ordered the strip searches as punishment for Fugate’s assault on his

officer.

       4. Whether Fugate’s Fourth Amendment right to not be strip searched by more

officers than those serving a penological purpose was clearly established.

       5. Whether Fugate’s Fourth Amendment right to be free from strip searches

performed without any penological purpose was clearly established.

       6. Whether Fugate’s Eighth Amendment right to be free from strip searches

maliciously ordered as punishment was clearly established.

                           STATEMENT OF THE CASE

       A. Factual Background.

       Until June 2017, Plaintiff-Appellant Karl Fugate was incarcerated at the

Southern Ohio Correctional Facility (SOCF) in Lucasville, Ohio.              Report &

Recommendation, R.80, PageID# 1234. Defendant-Appellee Ronald Erdos was



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SOCF’s warden at that time and remains the warden today. Erdos Declaration 1,

R.61-4, PageID# 596. He is responsible for “overseeing all operations at SOCF.”

Id.

             1. After Fugate assaults a prison guard, other guards beat Fugate
                so badly that he must be immediately hospitalized.

      Fugate “had a long history with” Corrections Officer (CO) Michael Anderson.

Fugate Deposition, R.78-1, PageID# 1137. At a previous disciplinary hearing,

Anderson singled Fugate out for harsher punishment than other inmates who had

broken the same rules, even though Fugate had been infraction-free “for a long time.”

Id. Anderson gave Fugate six months of “4B” time, which entails more isolation

and restrictions, without giving 4B time to any of the other inmates, and then

“laugh[ed] about it.” Id. When making his weekly rounds, Anderson would

randomly stop at Fugate’s cell to threaten that he had at least a year of 4B time left.

Id., PageID# 1138. Anderson’s threats and harassment were “constant.”              Id.,

PageID# 1137.

      In January 2017, Anderson presided over a hearing relating to Fugate’s

previous fight with another inmate. Id., PageID## 1137-1138. Fugate had hoped

that Anderson would change his security classification from level 4B to level 5B

because it would have allowed Fugate to transfer to Ohio State Penitentiary (OSP).

Use of Force Report, R.61-3, PageID# 535; Report & Recommendation, R.80,

PageID# 1237. Anderson chose to keep Fugate at level 4B.

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      During the hearing and as Fugate had planned “prior to reaching the hearing

room,” Report & Recommendation, R.80, PageID# 1237 (citing Fugate Deposition,

R.78-1, PageID## 1137-1138), Fugate assaulted Anderson, punching him in the face

with a piece of metal. Fugate Deposition, R.78-1, PageID# 1195. The attack

resulted in a one-inch laceration on Anderson’s cheek that required medical attention.

Report & Recommendation, R.80, PageID## 1237-1238.

      That was the first, and only, time Fugate ever attacked prison staff. Fugate

Deposition, R.78-1, PageID# 1189. Fugate’s assault on Anderson was “motivated

by Anderson’s long-standing ‘harassment.’” Report & Recommendation, R.80,

PageID# 1237 (quoting Fugate Deposition, R.78-1, PageID# 1167); see also Use of

Force Report, R.61-3, PageID# 509 (“Inmate stated that I and Anderson had

problems in the past is why I did it.”); id., PageID# 536 (same).1 Once Fugate

attacked Anderson, he “[n]ever resisted” because he “had already d[one] what [he]

wanted to do.” Fugate Deposition, R.78-1, PageID# 1145. There was “no reason

for [him] to resist at that point.” Id.

      Immediately after the Anderson assault, other prison guards dragged Fugate

to a room with no cameras and beat him so severely that he needed an ambulance to


1
  Erdos disputes this, claiming that Fugate’s assault on his guard was motivated by
Fugate’s preference to go to OSP. Opening Br. 2, 5, 25, 26, 29, 31. Fugate expressly
rejects this contention. See Fugate Deposition, R.78-1, PageID## 1165-1167 (“Q:
So did you not attack Mr. Anderson because you wanted to go to OSP? A: No, that’s
not the reason why I did it.”).

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take him to a hospital emergency room. Starting in the hearing room itself, COs

Garth Fri and John McCoy tackled Fugate, delivering several closed-fist strikes to

his face. Report & Recommendation, R.80, PageID# 1238. Other officers, including

Brian Felts, then secured Fugate and led him to the infirmary, Fugate Deposition,

R.78-1, PageID# 1147; Report & Recommendation, R.80, PageID# 1238—a room

they chose because it has no cameras. Fugate Deposition, R.78-1, PageID## 1161-

1162; Report & Recommendation, R.80, PageID# 1239. Walking to the infirmary,

Felts sprayed Fugate’s face with pepper spray, even though Fugate remained cuffed

and secured.    Fugate Deposition, R.78-1, PageID## 1151-1152.          Fugate was

“blinded instantly,” id., PageID# 1154, and began choking, id., PageID# 1153.

      Alone in the infirmary, Felts, Fri, and Corrections Lieutenant Edgel Eshem

sat Fugate in a chair and beat him until he lost consciousness “multiple times.” Id.,

PageID## 1155-1156, 1159; Report & Recommendation, R.80, PageID# 1239. The

three men punched Fugate to the ground, kicked him, lifted him back up, put him

back in the chair, and then “another one would take his turn.” Fugate Deposition,

R.78-1, PageID# 1158. Fugate was “completely knocked out” when he hit the floor.

Id. The officers continued their beating, taunting that Fugate was “faking” his pain

and loss of consciousness. Id. Fugate “thought they w[ere] going to kill” him. Id.,

PageID# 1164.




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      Shortly thereafter, Fugate saw a prison doctor, who took “one look” at him

and ordered an ambulance. Id., PageID# 1163. Fugate was immediately sent to the

Ohio State University emergency room. Use of Force Report, R.61-3, PageID# 561

(“Sent to OSU ER”); Fugate Deposition, R.78-1, PageID## 1167-1171. In the

ambulance, Fugate’s “pain really started setting in.” Fugate Deposition, R.78-1,

PageID# 1169. His arm, head, and neck all throbbed, so much so that three years

later, he was still taking medication for the “constant” pain. Id.; Fugate Photograph,

R.54-1, PageID# 273 (photograph after the beating).

             2. Erdos orders that Fugate be placed in solitary confinement and
                strip searched three times a day for thirty days.

      When Fugate returned from the hospital late that night, Erdos ordered that he

be locked in a J1 “slammer cell.” Fugate Deposition, R.78-1, PageID# 1173; Erdos

Declaration 1, R.61-4, PageID# 596. The J1 corridor is where inmates “who have

committed the most violent offense[s]” are held. Erdos Declaration 1, R.61-4,

PageID# 596. Five cells within J1 are “reserved for inmates deemed particularly

dangerous,” even more dangerous than the other J1 inmates. Id., PageID# 597.

These are called the “slammer cells,” and because the cells are “so isolated,” inmates

are generally kept in them for no more than two weeks at a time. Fugate Deposition,

R.78-1, PageID# 1204.

      Slammer cells are not normal or “average segregation cell[s].” Id., PageID#

1193. There is an extra set of bars “around the whole unit” and “no openings.” Id.;

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Report & Recommendation, R.80, PageID# 1241. So even if an inmate porter (or

another unauthorized person) improperly accessed the J1 corridor, they would still

have to open another locked gate to get anywhere close to a slammer-cell inmate.

Fugate Deposition, R.78-1, PageID# 1193. There was thus no way for Fugate to

obtain any contraband while in the slammer cell. Id.; Complaint, R.3, PageID## 47,

57.

        Erdos personally visited Fugate’s slammer cell at 4:00 a.m. the very first night

Fugate was kept there—not yet 24 hours after the Anderson assault.              Fugate

Deposition, R.78-1, PageID# 1191. Erdos threatened, “if you do anything else to

my staff, we’re going to beat the fuck out of you again.” Id. He also told Fugate,

“you’re going to stay right here,” in slammer-cell solitary confinement. Id.

        Around 6:30 that morning, roughly two hours after Erdos’s visit, the “real”

harassment started. Id. About “seven [COs] and a white shirt”2 barged into Fugate’s

cell “like gang busters.” Id., PageID# 1192. The “same COs” that beat Fugate in

the infirmary were among them, id., PageID## 1200, 1208, and Fugate thought they

had come to beat him a second time, id., PageID# 1192. But he was wrong: An

officer took Fugate to the shower and strip searched him, as the “white shirt” and the

several other officers looked on. Id.; see also id., PageID# 1194 (“multiple COs”

conducted the first strip search).


2
    A prison “white shirt” supervises the COs. SJ Order, R.89, PageID# 1335 n.2.

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      Erdos ordered that Fugate be strip searched three times a day for the next thirty

days, all while Fugate was isolated in the J1 slammer cell. Id., PageID# 1202; Erdos

Declaration 1, R.61-4, PageID# 596. The searches occurred after each of the COs’

three shifts: Around 6:30 a.m., 2:00 p.m., and midnight (but sometimes stretching

until 2:00 a.m.). Fugate Deposition, R.78-1, PageID## 1196, 1199-1200, 1203. A

“post order” required that every J1 slammer-cell inmate be strip searched after the

first and second CO shifts. Erdos Declaration 1, R.61-4, PageID# 597; Fugate

Deposition, R.78-1, PageID# 1198. 3 Erdos ordered that Fugate “additionally be

searched during third shift” on top of the two other strip searches performed earlier

each day. Erdos Declaration 1, R.61-4, PageID# 597. On January 18, the morning

the strip searches began, Captain James Whitman e-mailed other prison staff: “Per

Warden Erdos Inmate Fugate is to be shookdown at the beginning of every shift!!!”

Whitman E-mail, R.54-1, PageID# 281. Later in the month, Fugate asked Erdos

when the strip searches would end. Fugate Deposition, R.78-1, PageID# 1197.

Erdos responded, “when I feel like it.” Id., PageID# 1198.

      The strip searches were “humiliat[ing].” Id., PageID# 1208. The same

officers that beat Fugate in the infirmary ordered him to strip, to bend over, and to

spread his buttocks. Id., PageID## 1200, 1208-1209. They would “laugh[]” and


3
 No copy of the post order is in the record, and there is nothing to indicate the date
or reason it was entered, or if it was ever rescinded. Report & Recommendation,
R.80, PageID# 1241 n.12.

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“mak[e] jokes” as they told Fugate to “spread your cheeks.” Id., PageID# 1209.

Like Fugate’s first strip search, many subsequent searches were conducted with one

CO securing Fugate, while several others and the white shirt looked on as he stripped

naked and bent over. Id., PageID# 1193 (“[A]fter 2:00 that day they came there

again.”). Other of Fugate’s strip searches were performed by one CO and one white

shirt. Id., PageID# 1197.

      No contraband was ever discovered in Fugate’s cell or on his body during

these 90 strip searches. Erdos Declaration 1, R.61-4, PageID# 597. And after the

30-day period, Fugate was not strip searched again even though he was kept in the

J1 slammer cell for another “month or two.” Fugate Deposition, R.78-1, PageID#

1207. Fugate suspects that the strip searches abruptly ended because the Ohio

Highway Patrol began investigating the infirmary beating that landed Fugate in the

emergency room. Id. Fugate was then placed in one of J1’s “normal” non-slammer

cells, where he “was pretty much left alone.” Id. In June 2017, Fugate was

transferred to OSP and out of SOCF. Erdos Declaration 1, R.61-4, PageID# 597.

      B. Procedural Background.

         1. Fugate files suit in the Southern District of Ohio.

      Proceeding pro se, Fugate sued Erdos, Eshem, Felts, Fri, and McCoy for

violating his rights under the Fourth and Eighth Amendments. Complaint, R.3,

PageID## 40, 50. He sued Eshem, Felts, and Fri under the Eighth Amendment for,



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among other things, the “brutal” infirmary beating they inflicted after Fugate was

pepper sprayed and fully secured. Id., PageID# 45. And he sued Erdos under the

Fourth and Eighth Amendments for ordering the strip searches, which Fugate alleged

Erdos ordered solely in “retaliation,” or “punishment,” for the Anderson assault. Id.,

PageID## 47, 49.

        The case was referred to Magistrate Judge Stephanie K. Bowman and

proceeded to discovery. When discovery concluded, both sides filed for summary

judgment.

          2. The District Court denies summary judgment to Felts and Eshem
             for the infirmary beating.

        The Magistrate recommended denying summary judgment to Felts and Eshem

for the vicious infirmary beating. The Magistrate zeroed in on video footage that

showed Fugate with “no visible injuries” before he was taken inside the infirmary,

and then compared that to the severe injuries he sustained after leaving the

infirmary—injuries that required immediate “transport[] to an outside hospital

emergency room.” Report & Recommendation, R.80, PageID# 1248; see also

Fugate Photograph, R.54-1, PageID# 273 (photograph of Fugate after the beating).

Felts and Eshem did not dispute being alone with Fugate in the infirmary during this

time.    Felts Declaration, R.61-9, PageID# 610; Eshem Declaration, R.61-10,

PageID## 611-612. On that basis, and in conjunction with Fugate’s testimony, the




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Magistrate recommended denying summary judgment and qualified immunity to

Felts and Eshem. Report & Recommendation, R.80, PageID## 1248-1249.

      The District Court adopted these portions of the Magistrate’s Report and

Recommendation. See SJ Order, R.89, PageID## 1343-1345. Felts and Eshem have

not appealed these orders, and Fugate’s claims against them are set for a jury trial.

          3. The District Court rules several material facts relevant to the strip-
             search claims against Erdos are genuinely disputed.

      The District Court ruled that several material facts are genuinely disputed.

Three are relevant to Erdos’s appeal. First, Fugate testified that his initial strip

search, and more later on, were conducted in full view of a sizeable audience—seven

COs and a white shirt—while most of the 90 strip searches were conducted privately

with just one CO and one white shirt. Fugate Deposition, R.78-1, PageID## 1191-

1193, 1197. Although Erdos and others denied that allegation, the District Court

ruled that a reasonable jury could “infer[] that on at least one occasion, Plaintiff was

observed by more officers than was necessary for any penological purpose.” SJ

Order, R.89, PageID# 1335 (quoting Report & Recommendation, R.80, PageID#

1252). The District Court further ruled that it was genuinely disputed whether Erdos

personally ordered the strip searches to be conducted in this “manner,” highlighting

evidence of Erdos’s malice and his (uncontested) direct orders to conduct the strip

searches in the first place. Id., PageID# 1337.




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       Second, Erdos stated that he ordered Fugate to be strip searched three times

a day while he was in the slammer cell out of concern he could obtain “weapons.”

Erdos Declaration 1, R.61-4, PageID# 597; see also Erdos Declaration 2, R.73-1,

PageID# 1108. In response, Fugate provided sworn testimony that there was “no

way” for him to obtain contraband while in the slammer cell because it was

completely segregated and secured with two sets of locked doors. Fugate Deposition,

R.78-1, PageID# 1193. The District Court ruled that a “reasonable juror could find”

in Fugate’s favor on this point. SJ Order, R.89, PageID# 1338.

      The District Court summed it up: If a jury “adopted” Fugate’s “version” of

events—which it could reasonably do—“then he had no access to contraband while

housed in J1 and Warden Erdos therefore had no penological justification for the

strip searches.” Id., PageID# 1342 (emphasis added); see also id., PageID# 1340

(“This is enough evidence to inject a factual dispute as to whether Warden had a

penological reason for continuing the searches.”).

      Third, Erdos stated that he was “motivated by security concerns based upon

[Fugate’s] prior assaults.” Report & Recommendation, R.80, PageID# 1256; Erdos

Declaration 1, R.61-4, PageID# 597. Fugate testified that because it was impossible

for the strip searches to uncover contraband, Erdos ordered them as “harassment,”

or punishment, for the Anderson assault. Fugate Deposition, R.78-1, PageID## 1191,




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1193. The Magistrate considered Fugate’s testimony, along with other record

evidence that Erdos acted with malice:

 Around 4:00 a.m. on Fugate’s first night in the slammer cell, Erdos breached
  “normal procedure” to personally tell Erdos “you’re going to stay right here.”
  Report & Recommendation, R.80, PageID# 1253.

 The sheer “frequency, number, and type of strip searches—involving 90 visual
  body-cavity inspections within 30 days” suggests Erdos was motivated by
  something aside from security concerns. Id.

 Erdos assigned Felts and Eshem—the same officers who just viciously beat
  Fugate—to perform the strip searches. Id.

 The slammer cells “are both more secure and more isolated than other cells in
  J1,” yet Erdos did not order any strip searches for inmates in those other, less
  secure, less isolated cells. Id., PageID# 1255.

 Erdos “singled out” Fugate for an additional third daily strip search to be
  performed around midnight—going above and beyond the post order for other
  slammer-cell inmates. Id., PageID# 1256.

 All of Fugate’s strip searches stopped “abruptly after 30 days” even though
  Fugate remained in the same J1 slammer cell for at least another month, with the
  same purported ability to obtain contraband. Id. The Magistrate noted Fugate’s
  suspicion that this sudden cessation was connected with the Ohio Highway
  Patrol’s investigation. Id., PageID# 1256 n.20.

 Fugate asked Erdos when the strip searches would end. Erdos’s response: “When
  I feel like it.” Id., PageID# 1257.

      The District Court adopted the Magistrate’s recommendation that this

evidence created a genuine dispute over whether Erdos acted with “malice” and

ordered Fugate’s 90 strip searches as punishment for the Anderson assault. SJ Order,

R.89, PageID# 1342.


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         4. The District Court rules that under Fugate’s version of events,
            Erdos violated Fugate’s clearly established rights under the Fourth
            and Eighth Amendments.

      The District Court ruled that under Fugate’s facts, Erdos violated Fugate’s

Fourth and Eighth Amendment rights in three distinct ways. It further ruled that

Fugate’s rights were clearly established and that Erdos lacked qualified immunity.

                a. Fugate’s Fourth Amendment right not to be strip searched
                   “by more officers” than those serving a penological purpose.

      The District Court ruled that by ordering “a more-than-necessary number of

officers” to strip search Fugate, Erdos independently violated Fugate’s Fourth

Amendment rights. SJ Order, R.89, PageID# 1337. Ruling that Fugate’s right was

clearly established, the court denied Erdos’s request for qualified immunity. Id.,

PageID## 1340-1342. The District Court explained that Stoudemire v. Michigan

Department of Corrections, 705 F.3d 560 (6th Cir. 2013), applies “precise[ly]” and

“neatly.” SJ Order, R.89, PageID# 1341. Stoudemire held that “it is settled” that

the law “restricts the scope, manner, and place” of a strip search. 705 F.3d at 574.

And specifically, Stoudemire recognized that inmates have a “well established right”

not “to be subjected to a humiliating strip search in full view of several (or perhaps

many) others unless the procedure is reasonably related to a legitimate penological

interest.” Id. at 575 (emphasis omitted).




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                b. Fugate’s Fourth Amendment right not to be strip searched
                   without any penological justification.

      The District Court held that Fugate’s right to be free from strip searches

without any “penological justification” also was clearly established after Stoudemire.

SJ Order, R.89, PageID## 1341-1342. The District Court interpreted Stoudemire to

hold that strip searches must be performed with some “penological justification.” Id.,

PageID# 1341 (quoting Stoudemire, 705 F.3d at 575). And the District Court

explained that Sumpter v. Wayne County, 868 F.3d 473, 484 (6th Cir. 2017), held

that a key consideration for qualified immunity is whether the inmate contests the

validity of the official’s proffered justification. SJ Order, R.89, PageID# 1341.

      Here, the potential discovery of hidden weapons was the single justification

Erdos offered for Fugate’s 90 strip searches, and Fugate directly contested it. Id.,

PageID# 1342 (“If Plaintiff’s version of the facts is adopted, then he had no access

to contraband while housed in J1 and Warden Erdos therefore had no penological

justification for the strip searches.”). The District Court therefore ruled that under

Fugate’s version, Erdos was not entitled to qualified immunity. Id.; see also Report

& Recommendation, R.80, PageID# 1260 (Erdos “should have known that

conducting thrice-daily strip searches devoid of any legitimate penological

justification was constitutionally unreasonable.”).




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                c. Fugate’s Eighth Amendment right not to be maliciously strip
                   searched as a form of punishment.

      The District Court held that Fugate had a clearly established Eighth

Amendment right not to be “maliciously” strip searched in a way designed to “cause

harm.” SJ Order, R.89, PageID# 1342. The District Court adopted the Magistrate’s

analysis, which reasoned that Fugate’s Eighth Amendment right was clearly

established under Hudson v. McMillian, 503 U.S. 1 (1992); Whitley v. Albers, 475

U.S. 312 (1986); Wilson v. Seiter, 501 U.S. 294 (1991); and Wilkins v. Gaddy, 539

U.S. 34 (2010). See Report & Recommendation, R.80, PageID## 1244, 1259, 1261.

Because Fugate’s version showed that Erdos maliciously ordered the strip searches

as punishment, see supra at 15, the District Court ruled that Erdos was not entitled

to qualified immunity for this claim. SJ Order, R.89, PageID# 1342.

         5. The District Court rejects Erdos’s 1997e(e) argument.

      “When addressing” Erdos’s qualified immunity defense, the Magistrate sua

sponte analyzed whether 42 U.S.C. § 1997e(e) blocks Fugate’s Eighth Amendment

claim because it does not “involve physical injury.” SJ Order, R.89, PageID## 1342-

1343. The Magistrate recommended that Fugate’s claim be permitted to proceed

under King v. Zamiara, 788 F.3d 207, 213 (6th Cir. 2015).            See Report &

Recommendation, R.80, PageID# 1261. Over Erdos’s objections, the District Court

adopted that recommendation, though when it did, the District Court analyzed




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Erdos’s Section 1997e(e) arguments separately from his qualified immunity

arguments. See SJ Order, R.89, PageID## 1342-1343.

          6. Erdos files this interlocutory appeal.

      Erdos, and only Erdos, filed a notice of appeal challenging the District Court’s

summary judgment order denying qualified immunity. Notice of Appeal, R.90,

PageID# 1346. Because the District Court’s order is not final, Erdos seeks review

under this Court’s interlocutory jurisdiction. Fugate’s claims against Felts, Eshem,

and Erdos remain pending in the District Court.

                       SUMMARY OF THE ARGUMENT

      This Court should either dismiss the appeal for lack of jurisdiction or affirm

the District Court’s denial of qualified immunity.         This Court’s interlocutory

jurisdiction over a qualified-immunity appeal is narrow, and Erdos exceeds it in two

ways. First, to unlock this Court’s interlocutory jurisdiction, the defendant must

“concede the plaintiff’s version of the facts.” Gillispie v. Miami Township, 18 F.4th

909, 917 (6th Cir. 2021). By proceeding entirely on his own facts favorable to his

side of the story, Erdos fails to satisfy that “crucial jurisdictional prerequisite.” Id.

That failure deprives this Court of jurisdiction “entirely.” Id. at 918; see infra

Argument I.

      Second, even if Erdos had satisfied that jurisdictional directive, this Court is

still not empowered to consider arguments challenging a district court’s ruling that



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certain facts are genuinely disputed and that particular inferences may be drawn from

those facts. But here too, the bulk of Erdos’s opening brief (at 15-36) attacks the

District Court’s ruling that there are genuine disputes over whether Erdos ordered

several officers to watch, but not facilitate, at least one strip search; whether he

ordered all 90 strip searches without any penological justification; and whether he

ordered those strip searches maliciously as punishment. If the Court has any

jurisdiction at all, these fact-based challenges must be “discard[ed].” DiLuzio v.

Village of Yorkville, 796 F.3d 604, 611 (6th Cir. 2015). In any event, Erdos’s record-

based arguments fail on the merits. Once Fugate’s testimony is accepted as true and

inferences are drawn in his favor, the District Court’s view of the record naturally

follows. See infra Argument II.

      Third, on the merits, the District Court was correct to deny Erdos qualified

immunity because Fugate’s account gives rise to two violations of his clearly

established Fourth Amendment rights and a separate violation of his clearly

established Eighth Amendment rights. To start, this Court has held that an inmate’s

“right not to be subjected to a humiliating strip search in full view of several (or

perhaps many) others unless the procedure is reasonably related to a legitimate

penological interest” is clearly established. Stoudemire, 705 F.3d at 575 (emphasis

omitted). Erdos violated that right by ordering an audience of eight men—six more




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than those serving any penological interest—to watch several of Fugate’s strip

searches, including his first. See infra Argument III.A.

      Next, Sixth Circuit and other appellate case law clearly establishes the Fourth

Amendment right to be free from strip searches performed without any penological

justification. Because Fugate directly and persuasively contradicted the single

penological justification Erdos offered, Erdos is not entitled to qualified immunity

on Fugate’s second Fourth Amendment theory, either. See infra Argument III.B.

      Finally, precedent from this Court and others clearly establishes Fugate’s

Eighth Amendment right to be free from strip searches performed “maliciously” as

a form of punishment. Cornwell v. Dahlberg, 963 F.2d 912, 917 (6th Cir. 1992).

Because ample evidence shows that Erdos ordered Fugate’s 90 strip searches with

malice, he is not entitled to qualified immunity on Fugate’s Eighth Amendment

claim. See infra Argument III.C.

                           STANDARD OF REVIEW

      “This Court reviews de novo a district court’s denial of a defendant’s motion

for summary judgment on qualified immunity grounds.” Ouza v. City of Dearborn

Heights, 969 F.3d 265, 275 (6th Cir. 2020). When reviewing a district court’s denial

of qualified immunity, this Court must “take, as given, the facts that the district court

assumed when it denied summary judgment.” Romo v. Largen, 723 F.3d 670, 675

(6th Cir. 2013) (quoting Johnson v. Jones, 515 U.S. 304, 319 (1995)); see also



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Gillispie, 18 F.4th at 916 (“This court simply ‘defers to the district court’s

determinations of fact.’” (quoting Adams v. Blount County, 946 F.3d 940, 948 (6th

Cir. 2020))).

                                    ARGUMENT

      BECAUSE ERDOS IS UNWILLING TO CONCEDE FUGATE’S
      VERSION OF THE FACTS, THIS COURT LACKS JURISDICTION
      OVER THE ENTIRE APPEAL.

      To activate interlocutory jurisdiction, the defendant must “concede the

plaintiff’s version of the facts for purposes of the appeal.” Gillispie, 18 F.4th at 917

(quoting Ouza, 969 F.3d at 277; Jefferson v. Lewis, 594 F.3d 454, 459 (6th Cir.

2010)). The “onus” is on Erdos to satisfy this requirement. Id. at 915. He fails to

do so, and that failure “strips” this Court of “jurisdiction entirely.” Id. at 918.

      At every turn, Erdos’s opening brief refuses to concede, and even directly

challenges, Fugate’s version of the facts. For starters, Erdos fails to acknowledge

that officers who report directly to him brutally beat Fugate as punishment for the

Anderson assault. Glaringly, he never concedes that the beating even occurred.

Erdos also never concedes that at 4:00 a.m. the morning after the beating—right

before the strip searches began—he walked to Fugate’s slammer cell to personally

threaten: “[I]f you do anything else to my staff, we’re going to beat the fuck out of

you again.” Fugate Deposition, R.78-1, PageID# 1191. Nor does Erdos mention the

constellation of other facts, see supra at 15 (bullet-pointed list), showing that he



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maliciously ordered Fugate’s 90 strip searches to harass, humiliate, and punish

Fugate. See Younes v. Pellerito, 739 F.3d 885, 889 (6th Cir. 2014) (dismissing entire

appeal for lack of jurisdiction because defendant’s “arguments dismiss or ignore

relevant aspects of [plaintiff]’s account”).

      Far from making concessions, Erdos highlights his facts, favorable to his side

of the story, even though Fugate’s evidence and testimony directly contradicts them.

See Adams, 946 F.3d at 951 (dismissing entire appeal for lack of jurisdiction where

the defendant relied “solely on his version of the facts”). Strikingly, the opening

brief cites Erdos’s first declaration (R.61-4) thirty-six times. Relying on his own

testimony, Erdos asserts repeatedly that additional security measures were necessary

because Fugate’s motive for attacking Anderson was “to obtain a transfer” to OSP.

See Opening Br. 2; see also id. at 5-6, 9-10, 25. He argues that he imposed the three-

a-day strip searches because he “had reasonable concerns that Fugate would attack

somebody else until he got the transfer he sought.” Id. at 29; see also id. at 2

(describing Fugate’s allegedly “drastic” plan to “obtain the transfer to OSP he so

desperately sought.”); id. at 31 (similar), id. at 36 (similar).

      But Fugate’s evidence specifically contradicts that rationale. Fugate testified

that he assaulted Anderson because Anderson had a “long history” of harassing him.

Fugate Deposition, R.78-1, PageID# 1137-1138. On Fugate’s account, he planned

to assault Anderson before his transfer request was denied. Id., PageID## 1137-



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1138; Report & Recommendation, R.80, PageID# 1237. And he testified that once

the Anderson assault was over, he had no reason to “resist” because attacking

Anderson is all he ever planned to do. Fugate Deposition, R.78-1, PageID# 1145.

Moreover, Fugate expressly refuted Erdos’s version that he assaulted Anderson in

response to the transfer denial. Id., PageID# 1166-1167 (“No, that’s not the reason

I did it.”).

       Similarly, Erdos asserts that Fugate might have gotten “passed a weapon by

inmate porters” while locked in the slammer cell. Opening Br. 26. Fugate directly

contradicted that, too. He testified that with no opening and two sets of locked doors,

it was impossible for him or any other slammer-cell inmate to obtain contraband.

Fugate Deposition, R.78-1, PageID# 1193; Report & Recommendation, R.80,

PageID# 1257. Standing alone, these contradictions suffice to strip this Court of

jurisdiction. See Younes, 739 F.3d at 889 (the Court lacks interlocutory jurisdiction

where “plaintiff has disputed” facts defendant relies upon).

       Lastly, and importantly, the “clearly established” arguments Erdos makes at

the end of his opening brief (at 37-44) do not cure these jurisdictional defects. As

this Court recently reiterated: Even if a defendant ultimately “asserts arguments

about whether the law was clearly established,” this Court “cannot consider those

otherwise valid arguments” if the defendant has “fail[ed] to concede the most

favorable view of the facts to the plaintiff.” Gillispie, 18 F.4th at 917. When factual



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disputes are “minor” or “immaterial to the legal issues,” id. at 917, this Court may

“excise” a defendant’s prohibited fact-based challenge “so as to establish

jurisdiction” and consider a defendant’s purely legal challenges. Bunkley v. City of

Detroit, 902 F.3d 552, 560 (6th Cir. 2018). But where “disputed factual issues are

‘crucial to’ a defendant’s interlocutory qualified immunity appeal,” the Court

“remain[s] ‘obliged to dismiss the appeal for lack of jurisdiction.’” Gillispie, 18

F.4th at 916 (quoting Adams, 946 F.3d at 951).

      Plainly, Erdos’s factual challenges are “more than ‘minor’” and “not

‘immaterial to the legal issues raised.’” Id. at 917 (quoting Adams, 946 F.3d at 951)).

For Fugate’s Fourth Amendment claim, Erdos argues that he is entitled to qualified

immunity because “Stoudemire would not have put [him] on notice that subjecting

Fugate to three strip-searches a day would violate” the Constitution. Opening Br.

41. But Erdos leaves out the most important fact. He never analyzes whether

Stoudemire put him on notice “that subjecting Fugate to three strip-searches a day

without any penological purpose would violate” the Constitution. Erdos never asks

that question because—throughout his entire brief—he is unwilling to concede

Fugate’s version of the facts.

      Erdos takes that same approach when claiming qualified immunity for

Fugate’s Eighth Amendment claim. He asserts that “[n]either Hudson nor Wilkins

would have put every reasonable official on notice that the ordering of thrice daily



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searches, in the wake [of] a violent attack by an inmate, is unlawful.” Opening Br.

42 (internal quotation marks omitted). But the relevant legal question is whether

Erdos had notice that he could maliciously impose strip searches as a form of

punishment. Erdos fails to ask that question because he never stops disputing

Fugate’s account.

      Erdos is unwilling “to concede the most favorable view of the facts to the

plaintiff for purposes of the appeal.” Gillispie, 18 F.4th at 916. He thus fails to

satisfy a “crucial jurisdictional prerequisite,” and the entire appeal should be

dismissed for lack of jurisdiction. Id. at 917.

      THIS COURT LACKS JURISDICTION TO CONSIDER ERDOS’S
      RECORD-BASED ARGUMENTS, WHICH ARE MERITLESS IN ANY
      EVENT.

      The District Court held that the following facts are genuinely disputed:

 Erdos was personally “involve[d]” in the decision to have eight people (all seven
  COs and the supervising officer) witness at least one of Fugate’s strip searches.
  SJ Order, R.89, PageID# 1337.

 Erdos did not have any “penological purpose” for ordering Fugate’s 90 strip
  searches, and his proffered security interests are non-existent. Report &
  Recommendation, R.80, PageID## 1257-1258; SJ Order, R.89, PageID# 1338
  (adopting this recommendation).

 Erdos maliciously ordered the 90 strip searches to punish Fugate for the Anderson
  assault. Report & Recommendation, R.80, PageID## 1258-1259; SJ Order, R.89,
  PageID## 1339-1340 (adopting this recommendation).




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      Erdos devotes pages 15 to 36 of his opening brief to challenging these fact-

intensive rulings. This Court lacks jurisdiction to consider these arguments, which

are wrong on the merits regardless.

      A. This Court’s interlocutory jurisdiction extends only as far as “abstract legal

issues.” Downward for Estate of Downward v. Martin, 968 F.3d 594, 599 (6th Cir.

2020). It conversely lacks jurisdiction “to review a district court’s determination of

‘evidence sufficiency, i.e., which facts a party may, or may not be able to prove at

trial,’” Ouza, 969 F.3d at 276 (quoting Bunkley, 902 F.3d at 559), or its decision on

whether “the pretrial record sets forth a ‘genuine’ issue of fact.” McGrew v. Duncan,

937 F.3d 664, 669 (6th Cir. 2019); see also Adams, 946 F.3d at 948.

      Erdos’s “summary judgment” arguments (at Opening Br. 15-36) disregard

those limits. First, Erdos attacks the District Court’s ruling that a reasonable jury

could conclude that Erdos personally ordered eight men, six more than necessary, to

watch at least one of Fugate’s strip searches. Opening Br. 23-25. But this Court’s

precedents could not be clearer: A district court’s “determination that the summary

judgment record raises a genuine issue of fact concerning the officials’ involvement

is not an immediately appealable final decision and this Court lacks jurisdiction” to

consider it. Regan v. Todd, 616 F. App’x 823, 825 (6th Cir. 2015) (quoting

Thompson v. Grida, 656 F.3d 365, 367 (6th Cir. 2011)). Just last month, this Court

reaffirmed that jurisdictional rule. See Lippett v. Corizon Health, Inc., No. 20-1700,



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2022 WL 304955, at *3 (6th Cir. Feb. 2, 2022) (defendant’s argument that she “was

[not] personally involved in the alleged decision” that violated the inmate’s

constitutional rights “boils down” to an improper “claim of evidence sufficiency”).

      The particular ways Erdos presses this argument raise even more

jurisdictional roadblocks. He asserts that there is “no evidence” connecting Erdos

to the eight men that watched Fugate’s first strip search. Opening Br. 24. Going

further, he even argues that there is “no evidence” that more officers than necessary

watched that first strip search. Id. at 23. But arguing “no evidence” is a classic

“evidence sufficiency” argument and therefore goes beyond this Court’s jurisdiction.

See Barry v. O’Grady, 895 F.3d 440, 444-445 (6th Cir. 2018) (no jurisdiction to

“entertain” such arguments “whatever the merits”); Younes, 739 F.3d at 890

(similar); Kindl v. City of Berkley, 798 F.3d 391, 399 (6th Cir. 2015) (claims of “no

evidence” are “arguments merely of ‘evidence sufficiency’” and “are therefore

beyond [this Court’s] jurisdiction”). Erdos also argues that the District Court was

wrong to “infer[]” that Erdos may have directed the eight men to be there. Opening

Br. 23. This Court lacks interlocutory jurisdiction to review those arguments, as

well. Kindl, 798 F.3d at 400 (permitting this Court to “review the ‘inferences’ to be

drawn from the factual record” would be “contrary to both Sixth Circuit and

Supreme Court precedent”); see also DiLuzio, 796 F.3d at 609 (similar) (citing

Romo, 723 F.3d at 673-674).



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      Second, Erdos asserts that “[c]ontrary to the District Court’s findings,” a

reasonable jury would have to find that he did have a penological justification for

ordering Fugate’s 90 strip searches. Opening Br. 31; see also id. at 9-10, 31. Erdos

points to his first declaration stating that Fugate could “get passed a weapon by

inmate porters,” id. at 26 (citing Erdos Declaration 1, R.61-4, PageID# 597) and that

Fugate “might attack another inmate or staff until he got the transfer he desperately

sought,” id. (citing Erdos Declaration 1, R.61-4, PageID# 597), and to his second

declaration stating that “contraband had been smuggled to a slammer cell

previously.” Id. at 28 (citing Erdos Declaration 2, R.73-1, PageID# 1108).

      The District Court, however, already exhaustively considered that evidence.

See Report & Recommendation, R.80, PageID## 1255-1258) (discussing this exact

evidence at length); SJ Order, R.89, PageID## 1337-1338 (adopting that analysis).

The District Court then weighed Erdos’s declarations against Fugate’s conflicting

testimony and ruled a reasonable jury could find that the 90 strip searches served no

actual security    concerns or other “penological purpose.”              Report &

Recommendation, R.80, PageID# 1258; SJ Order, R.89, PageID## 1337-1338

(adopting that analysis).

      Erdos simply asks this Court to re-weigh the evidence and come to the

opposite conclusion—something it lacks jurisdiction to do.          E.g., Thomas v.

Bauman, 835 F. App’x 5, 8 (6th Cir. 2020) (no interlocutory jurisdiction to consider



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defendant’s argument that “the district court did not give adequate weight to their

‘side of the story’”); McGrew, 937 F.3d at 669 (similar); Barry, 895 F.3d at 442

(similar); Ajami v. Saab, 436 F. App’x 458, 461 (6th Cir. 2011) (“We do not have

jurisdiction to reassess the weight of a plaintiff’s evidence where the district court

has already construed the facts in its denial of qualified immunity.”).

      Third, Erdos asserts that there is no evidence that he “acted maliciously and

sadistically when he had Fugate strip searched every shift for thirty days.” Opening

Br. 34; see also, e.g., id. at 2, 11, 35, 36. The District Court, however, expressly

held a reasonable jury could conclude that “malice” motivated Erdos to order

Fugate’s 90 strip searches. SJ Order, R.89, PageID# 1342. In this posture, this Court

lacks jurisdiction to review the fact-based question of “why an action was taken.”

DiLuzio, 796 F.3d at 609 (quoting Ortiz v. Jordan, 562 U.S. 180, 190 (2011)); see

also Bey v. Falk, 946 F.3d 304, 320 (6th Cir. 2019) (“Indeed, we have held that the

limitation on our appellate jurisdiction applies with particular force to evidence

sufficiency questions related to a person’s intent.” (internal quotation marks and

alteration omitted)); Kindl, 798 F.3d at 398 (no interlocutory jurisdiction to consider

“factual contention[s]” regarding defendant’s mental state).

      One last point: Ordinarily, this Court must “take, as given, the facts that the

district court assumed when it denied summary judgment.” Romo, 723 F.3d at 675;

Gillispie, 18 F.4th at 916 (the Court usually “defers” to the district court’s view of



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the record) (quoting Adams, 946 F.3d at 948). In rare instances, however, this Court

may review the district court’s interpretation of the record when that interpretation

fails to properly assess “incontrovertible record evidence” or is “blatantly and

demonstrably false.” DiLuzio, 796 F.3d at 609 (quoting Austin v. Redford Twp.

Police Dep’t, 690 F.3d 490, 496 (6th Cir. 2012); see also DeCrane v. Eckart, 12

F.4th 586, 603 (6th Cir. 2021) (noting that this Court has drawn a jurisdictional

“line”); Campbell v. Mack, 777 F. App’x 122, 128 (6th Cir. 2019) (explaining this

framework).4

      Neither exception applies or is even asserted by Erdos. Erdos’s arguments

rely primarily on Fugate’s alleged plan to continue attacking prison guards until he

is transferred and his alleged ability to obtain a weapon while in the slammer cell.

E.g., Opening Br. 2, 26, 34-35. Fugate directly controverts both points. See supra

at 23-24. Similarly, Erdos never argues that Fugate’s account is “blatantly” false.

Kindl, 798 F.3d at 399. Nor could he, as no “clear video footage” or other evidence

reveal Fugate’s testimony to be “demonstrably” untrue. Id.; see also Estate of

Barnwell by S.C.B. v. Grigsby, 681 F. App’x 435, 440 (6th Cir. 2017) (“This ‘one

limited exception’ applies ‘only where the evidence is so utterly discredited by the




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  A defendant may also “point to some other of the plaintiff’s record evidence” that
the district court did not consider. DiLuzio, 796 F.3d at 611 (emphasis added).
Erdos’s appellate arguments, however, are based on his own evidence, not Fugate’s.

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record as to be rendered a visible fiction.’” (quoting Kollin v. City of Cleveland, 557

F. App’x 396, 401 (6th Cir. 2014)).

      In the end, pages 15 through 36 of the opening brief expressly “attack[] the

district court’s denial of summary judgment, not qualified immunity,”—arguments

that do “not fit within an exception to [this Court’s] lack of jurisdiction over

interlocutory appeals.” Wheeler v. City of Cleveland, 415 F. App’x 705, 709 (6th

Cir. 2011). If this Court has any jurisdiction at all, it must “discard the fact-based or

‘evidence sufficiency’ portion” of Erdos’s appeal—“that is, any challenge to the

district court’s view of the facts or its associated inferences.” DiLuzio, 796 F.3d at

611. That requires disregarding pages 15 through 36 of Erdos’s opening brief.

      B. In any event, Erdos’s summary-judgment arguments lack merit. Once

Fugate’s testimony is accepted as true and inferences are drawn in his favor, the

District Court’s conclusions come naturally.

      To begin, Erdos argues that there is “no evidence” that eight men watched at

least one of Fugate’s strip searches—six more than necessary. Opening Br. 23. That

is false. Fugate stated that “seven [COs] and a white shirt” were present for his first

strip search. Fugate Deposition, R.78-1, PageID# 1192. One CO performed the

strip search, while “the rest” and the “white shirt” were “looking.” Id. The deposing

lawyer repeated that testimony back to Fugate. Id., PageID# 1194 (referring to the

“multiple COs that brought you out of your cell” to be strip searched). And Fugate



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later confirmed that at least one other strip search was conducted in the same way.

Id., PageID# 1193 (“after 2:00 that day they came there again.”).

      Retreating, Erdos argues there was “no evidence linking” Erdos to the

decision to have an audience of eight men watch at least one of Fugate’s strip

searches. Opening Br. 24. But the record shows that Erdos personally ordered the

strip searches and held strong animus against Fugate—powerful circumstantial

evidence that Erdos ordered the strip searches to be conducted in such a demeaning

“manner.” SJ Order, R.89, PageID# 1337. That is sufficient. “[T]his Court’s cases

only require enough evidence to support a reasonable inference that the defendant”

was involved in the unconstitutional acts; direct evidence is not required. See Abu-

Joudeh v. Schneider, 954 F.3d 842, 850 (6th Cir. 2020) (reversing district court for

requiring more).

      Next, Erdos asserts that a reasonable jury would have to find that he did have

a penological purpose for strip searching Fugate. See Opening Br. 25-31. This

argument mainly rests on Erdos’s own testimony that it was possible for Fugate to

obtain a contraband weapon while in the slammer cell and that Fugate planned a

spree of attacks on other prison officials. See id. at 28-31. Again, Fugate’s testimony

directly contradicts these claims, see supra at 23-24, which suffices to create a

“genuine issue of material fact” unless it is “blatantly contradicted by objective

evidence.” Coble v. City of White House, 634 F.3d 865, 869 (6th Cir. 2011);



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Alspaugh v. McConnell, 643 F.3d 162, 168 (6th Cir. 2011) (because “credibility

determinations” are improper at summary judgment, the district court erred when it

“endorse[d] the prison officers’ account” over the prisoner’s).

      Erdos comes nowhere close to meeting that standard. He highlights his own

second declaration, which stated that “contraband had been smuggled to a slammer

cell previously.” Opening Br. 28 (citing Erdos Declaration 2, R.73-1, PageID#

1108). But in the Magistrate’s view, which the District Court adopted, a reasonable

jury could afford that declaration little weight because Erdos never identified what

type of contraband was discovered, when it was discovered, how the inmate obtained

it, and “precisely where it was located on the inmate.” Report & Recommendation,

R.80, PageID# 1258 n.22; SJ Order, R.89, PageID# 1337-1338. Erdos never

explains why that is incorrect.     Nor does he explain—as he must—why “no

reasonable juror could accept” Fugate’s testimony after hearing the substance of

Erdos’s second declaration. Coble, 634 F.3d at 870 (quoting Jones v. Garcia, 345

F. App’x 987, 990 (6th Cir. 2009)). To the contrary, Erdos admits that his second

declaration is based merely on his own “recollect[ion],” Opening Br. 28, not

“objective evidence,” Coble, 634 F.3d at 869.

      Erdos falls back on his pleas for “deference,” Opening Br. 25-28, and his

assertion that Fugate was particularly “dangerous,” id. at 29-31. Both ring hollow.

Of course, prison officials “must have substantial discretion to devise reasonable



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solutions to the problems they face.” Florence v. Bd. of Chosen Freeholders of Cnty.

of Burlington, 566 U.S. 318, 326 (2012). But that deference is overcome with

“substantial evidence” that Fugate’s 90 strip searches were “unnecessary” for prison

“security.” Id. at 323; see also SJ Order, R.89, PageID# 1338 (quoting Florence,

566 U.S. at 323). And a reasonable jury could find that Fugate met that burden after

accepting his testimony that there was no way for him to acquire contraband and

crediting his extensive evidence showing that Erdos ordered the strip searches as

punishment, not for prison safety. See Stoudemire, 705 F.3d at 572 (“[W]e must not

confuse deference with abdication.”).5 Moreover, while at one point Fugate may

have posed a real danger to prison guards, any safety “justification[s]” for the strip

searches had “disappear[ed]” once Fugate was isolated in solitary confinement.

United States v. Bunke, 412 F. App’x 760, 765 (6th Cir. 2011) (quoting United States

v. Budd, 496 F.3d 517, 531 (6th Cir. 2007)); see also Report & Recommendation,

R.80, PageID# 1256 (“Of course, dangerousness alone says nothing about the

Plaintiff’s ability to obtain contraband.”).




5
  To be clear, the District Court’s determination that a reasonable jury could find
“substantial evidence” that the strip searches were “unnecessary,” SJ Order, R.89,
PageID# 1338, is a question of “evidence sufficiency” that this Court lacks
interlocutory jurisdiction to review. See supra at 27-32; cf. Cornwell, 963 F.2d at
917 (as the fact-finder, the jury must afford “deference to prison officials” and then
determine if there is “some valid, rational connection between the prison policy and
a legitimate penological interest”).

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      Finally, Erdos states that “there is a total lack of evidence supporting

[Fugate’s] contentions of Warden Erdos’ alleged maliciousness and sadistic

motive.” Opening Br. 36. But here, Fugate presented direct evidence of Erdos’s

animus. He testified that on the morning that the strip searches began, Erdos

threatened, “if you do anything else to my staff, we’re going to beat the fuck out of

you again.” Fugate Deposition, R.78-1, PageID# 1191. Even setting that aside:

“Because direct evidence of motive is difficult to produce, claims involving proof of

a defendant’s intent seldom lend themselves to summary disposition” and

“circumstantial evidence” often suffices. Kennedy v. City of Villa Hills, 635 F.3d

210, 218 (6th Cir. 2011) (internal quotation marks omitted). And the District Court

pointed to ample circumstantial evidence of Erdos’s malicious intent. See supra at

15; SJ Order, R.89, PageID# 1337 (citing Report & Recommendation, R.80,

PageID## 1252-1254). That is more than enough to survive summary judgment.

      Either for lack of jurisdiction or on the merits, this Court should accept the

District Court’s rulings that a reasonable jury could conclude: (1) Erdos ordered

eight officers (several more than necessary) to be present for at least one of Fugate’s

strip searches; (2) Erdos had no penological justification for ordering the strip

searches; and (3) Erdos maliciously ordered the strip searches as a form of

punishment.




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      VIEWING THE RECORD IN THE LIGHT MOST FAVORABLE TO
      FUGATE,   ERDOS     VIOLATED    FUGATE’S   CLEARLY
      ESTABLISHED RIGHTS IN THREE SEPARATE WAYS.

      Under Fugate’s account, Erdos violated his clearly established rights in three

separate ways. The District Court was correct to deny Erdos qualified immunity.

      Officials are entitled to qualified immunity if “their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person

would have known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009). A right can

be clearly established either “by ‘controlling authority’ or ‘a robust consensus of

cases of persuasive authority.’” District of Columbia v. Wesby, 138 S. Ct. 577, 589-

590 (2018).

      For a right to be clearly established, there need not be “a case directly on

point.” Id. at 590; see also Ouza, 969 F.3d at 283 (“[T]his Court does not require ‘a

prior, precise situation,’ a finding that ‘the very action in question has previously

been held unlawful,’ or a ‘case directly on point’ in order to hold that a right was

clearly established.” (quoting Guertin v. State, 912 F.3d 907, 932 (6th Cir. 2019)).

Instead, a right is clearly established where its “contours are sufficiently clear” that

“a reasonable official would understand that what he is doing violates that right.”

Carroll v. Carman, 574 U.S. 13, 16 (2014).

      The inquiry’s “focus is on whether the officer had fair notice that her conduct

was unlawful.” Kisela v. Hughes, 138 S. Ct. 1148, 1152 (2018) (per curiam). And



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“an action’s unlawfulness can be apparent from direct holdings, from specific

examples described as prohibited, or from the general reasoning that a court

employs.” Ouza, 969 F.3d at 283; see also Vanderhoef v. Dixon, 938 F.3d 271, 279

(6th Cir. 2019) (same).

      The reasoning and holdings of this Court’s case law, along with a robust

consensus from sister Circuits, would place any reasonable official on notice that (1)

directing eight officers (six more than necessary) to perform at least one of Fugate’s

strip searches violates his Fourth Amendment rights; (2) ordering strip searches

without any penological purpose violates Fugate’s Fourth Amendment rights; and

(3) maliciously ordering strip searches as a form of punishment violates his Eighth

Amendment rights.

             A. Fugate’s Fourth Amendment Right Not To Be Strip Searched
                By More Officers Than Those Serving A Penological Purpose
                Was Clearly Established.

      Based on Fugate’s testimony, it was “possible to infer that eight people (all

seven COs and the supervising officer) witnessed [his] initial search.” SJ Order,

R.89, PageID## 1335-1336. Yet, several other strip searches were conducted by a

single CO and a white shirt. Fugate Deposition, R.78-1, PageID# 1197. Thus, the

District Court ruled, Fugate’s strip search was “observed by more officers than was

necessary for any penological purpose” on “at least one occasion.” SJ Order, R.89,

PageID# 1335. That violated Fugate’s clearly established Fourth Amendment right.



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      The District Court ruled Erdos is not entitled to qualified immunity because

Stoudemire applies “neatly” and “precise[ly].”         Id., PageID# 1341.     Correct.

Stoudemire, decided four years before Fugate’s 90 strip searches, held that the

Fourth Amendment right “not to be subjected to a humiliating strip search in full

view of several (or perhaps many) others unless the procedure is reasonably related

to a legitimate penological interest” is clearly established. 705 F.3d at 575 (emphasis

omitted). There, as here, the plaintiff was strip searched in front of an audience—

instead of in private—with no “penological justification.” Id. That is sufficient to

put any reasonable official on notice that ordering six additional men to watch, but

not facilitate, a strip search violated Fugate’s Fourth Amendment rights.

      Erdos offers no legal argument to the contrary—none. He offers solely

record-based challenges that this Court lacks jurisdiction to consider, and that are

wrong on the merits anyway. See supra at 27-28, 32-33; e.g., Opening Br. 39

(“Fugate was searched in a shower, and was only observed by guards whose

responsibility it was to conduct the search”). The District Court’s ruling should

therefore be affirmed. E.g., Mays v. Springborn, 575 F.3d 643, 650 (7th Cir. 2009)

(per curiam) (denying qualified immunity at summary judgment where “the guards

provided no justification for group searches because they denied performing them”).




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             B. Fugate’s Fourth Amendment Right To Be Free From Strip
                Searches Performed Without Any Penological Purpose Was
                Clearly Established.

      Under Fugate’s version of events, it was impossible for him to obtain

contraband or for the strip searches to uncover any. Erdos’s purported security

concerns were thus non-existent and pretextual, and he fails to offer any other

penological justification. Applying those facts, Erdos violated Fugate’s Fourth

Amendment right to be free from strip searches performed without any penological

purpose. SJ Order, R.89, PageID# 1342 (if there were no “access to contraband,”

the strip searches would lack a penological purpose); Report & Recommendation,

R.80, PageID# 1257 (“[I]n the absence of some opportunity to gain contraband, a

policy requiring frequent invasive strip searches would not be rationally related to

its stated objective.”).   That right is clearly established, and Erdos’s contrary

arguments lack merit.

                    1. Case law clearly establishes an inmate’s Fourth
                       Amendment right to be free from strip searches
                       performed without any penological interest.

      Sixth Circuit case law clearly establishes Fugate’s Fourth Amendment right

to be free from strip searches performed without any penological purpose. Start with

Stoudemire. There, a prison official strip searched an inmate in her cell without

covering the window, allowing “people in the hallway” to see her. Stoudemire, 705

F.3d at 567. The Court concluded that because there was no penological interest in



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performing the strip search “in view of other inmates and prison personnel,” id. at

573-574, any “reasonable officer” would know the search was unlawful, id. at 575.

      Stoudemire held that prison officials must have a “legitimate justification” for

conducting a strip search. Id. at 573. On top of that, if the “location” or “manner”

of the strip search makes it more invasive, prison officials must have an additional

“need for th[at] particular search.” Id. at 573-574; see also id. at 574 (“[I]t is settled

that the law demands an adequate need for a strip search, and, depending on the

circumstances and context, restricts the scope, manner, and place of the search.”).

The Court in Stoudemire ruled the strip search was unlawful after accepting—just

as in this case—that it “was ‘undertaken to harass or humiliate’ and not for any

legitimate purpose.” Id. at 571. The Court denied qualified immunity because any

reasonable officer knows that she may not impose strip searches “devoid of any

legitimate penological justification.” Id. at 575.

      In Sumpter, this Court reaffirmed Stoudemire’s “no penological justification”

qualified-immunity standard for strip searches. Sumpter applied the Stoudemire

framework to grant qualified immunity to prison officials that ordered group strip

searches to minimize “delays in the intake process.” Sumpter, 868 F.3d at 484-485.

In doing so, the Court reiterated that the Fourth Amendment balances the

justification for a strip search against its attendant privacy invasion. Id. at 485. The

Court emphasized that the Sumpter plaintiff “presented no evidence to dispute



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[defendants’] asserted penological justification,” i.e., the need to minimize intake

delays. Id. at 484. And it denied qualified immunity after holding that no case

instructed prison officials how to “weigh” that (valid) penological interest against

the nature of the inmates’ privacy invasion. Id. at 487. In Stoudemire, by contrast,

there simply was no “penological justification[] to weigh against the nature of the

intrusion.” Id. (describing Stoudemire). That was “critical for purposes of qualified

immunity analysis.” Id. The “balancing test between weighty privacy interests on

one hand and no governmental interest on the other was obvious,” such that any

“reasonable officer in the defendant’s position” was on notice that ordering the

search would be unlawful. Id.

      This case is the same. Erdos ordered Fugate to be strip searched 90 times in

30 days with “no penological justification.”       SJ Order, R.89, PageID# 1342.

Fugate’s testimony directly negates Erdos’s purported interest in confiscating

weapons, the only penological interest he offers. Compare Fugate Deposition, R.78-

1, PageID# 1193 (explaining there is “no opportunity” to obtain contraband in the

slammer cell), with Sumpter, 868 F.3d at 484 (granting qualified immunity in part

because plaintiff “fails to address the [penological] justification put forward by

defendants”). Accepting Fugate’s testimony as true, his Fourth Amendment right

was “clearly established” because the “outcome” of a “balancing test” with “no

governmental interest” is obvious. Sumpter, 868 F.3d at 487.



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      A “robust consensus” of other circuits agree. Wesby, 138 S. Ct. at 589-590.

For decades, federal circuit courts have held that ordering strip searches that could

not possibly uncover contraband violates an inmate’s right to be free from strip

searches performed without any penological purpose. In Parkell v. Danberg, the

Third Circuit held that strip searching an inmate in an “isolation cell without human

contact” violates the Fourth Amendment because it does not “advanc[e]” prison

security or any other penological interest. 833 F.3d 313, 329 (3d Cir. 2016). The

court then noted that “[i]n similar cases, our sister Courts of Appeals have allowed

inmates to pursue Fourth Amendment claims after being subjected to bodily searches

when they had had no opportunity to obtain contraband.” Id. 329 n.10 (citing

Turkmen v. Hasty, 789 F.3d 218, 261 n.44 (2d Cir. 2015); Franklin v. Lockhart, 769

F.2d 509, 510-511 (8th Cir. 1985); Hodges v. Stanley, 712 F.2d 34, 35-36 (2d Cir.

1983); Bono v. Saxbe, 620 F.2d 609, 617 (7th Cir. 1980)); see also Swain v. Spinney,

117 F.3d 1, 10 (1st Cir. 1997) (“visual body cavity search” when plaintiff was “alone

in a monitored cell, posing no danger to others” is “a flagrant violation of the Fourth

Amendment”).

      Other circuits hold the same. Long-standing precedent from the Ninth Circuit

holds that strip searches violate the Fourth Amendment when they are “excessive,

vindictive, harassing, or unrelated to any legitimate penological interest.” Shorter

v. Baca, 895 F.3d 1176, 1189 (9th Cir. 2018) (quoting Michenfelder v. Sumner, 860



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F.2d 328, 332-333 (9th Cir. 1988)). Same for the Fifth Circuit. See Waddleton v.

Jackson, 445 F. App’x 808, 809 (5th Cir. 2011) (per curiam) (holding that the

plaintiff sufficiently alleged Fourth Amendment violation where there was “no

justification, penological or otherwise” for the strip search).

      Even Erdos’s brief acknowledges what any reasonable official reading this

case law would understand: “[A]n inmate can be strip-searched so long as there is

penological justification for the search.” Opening Br. 9 (emphasis added). Exactly.

Under Fugate’s account, there was no penological justification for Erdos’s 90 strip

searches, and these cases tell any reasonable officer that ordering them would violate

the Fourth Amendment.

                    2. Erdos’s qualified-immunity arguments fail.

      Erdos’s contrary theories lack merit. First, Erdos claims that Stoudemire and

Sumpter are off-base because, unlike here, those cases involved “other people,” aside

from the “assigned” guards, “see[ing] the person being stripped.” Opening Br. 39.

      But Stoudemire specifically held that prison officials must offer a “valid

reason for [strip] searching” a prisoner and, if the search was conducted in public,

an “additional justification[] for strip searching [the prisoner] where others could see

[him] naked.” 705 F.3d at 574. That provides more than sufficient notice that prison

officials must have some penological justification before ordering any strip search—

public or private. See Rhodes v. Michigan, 10 F.4th 665, 679 (6th Cir. 2021)



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(qualified immunity’s “sufficiently analogous” inquiry is whether the case law

prompts a reasonable official to understand what he is doing is unconstitutional, not

whether the case is “on all fours with the instant fact pattern”); Sexton v. Cernuto,

18 F.4th 177, 191 (6th Cir. 2021) (rejecting defendant’s “overreliance on factual

similarity”); Rafferty v. Trumbull County, 915 F.3d 1087, 1097 (6th Cir. 2019)

(similar).

      Indeed, Stoudemire rejected a nearly identical argument. The Stoudemire

defendant conducted a public female-on-female strip search, at a time when Sixth

Circuit case law had held that strip searches performed by the opposite sex were

“particularly” invasive. Stoudemire, 705 F.3d at 575. The defendant argued that

because the plaintiff did “not cite any cases involving same-sex strip searches,” she

did not have notice that her same-sex public strip search was unlawful. Id. This

Court rejected that, holding that the defendant was “mistaken in suggesting that the

gender of the parties involved is wholly dispositive.”            Id.; see also id.

(“[Defendant]’s emphasis on the fact that this was not a cross-gender strip search is

unavailing.”).

      Erdos similarly asserts that because Stoudemire and Sumpter did not involve

private strip searches, they did not “put [him] on notice” that ordering private strip




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searches without any penological interest would violate the Fourth Amendment.6

Opening Br. 38. But just as the Stoudemire plaintiff was not required to offer Sixth

Circuit cases involving same-sex strip searches, 705 F.3d at 575, Fugate is not

required to offer Sixth Circuit cases involving private strip searches. Neither factor

is “wholly dispositive.” Id.; cf. Sumpter, 868 F.3d at 482 (“[V]isual strip searches

conducted in private are themselves an offense to the dignity of the individual”).

Then, as now, Sixth Circuit precedent was sufficiently clear that “a reasonable

officer would have been on notice” that strip searches “devoid of any legitimate

penological justification” violate the Fourth Amendment. Stoudemire, 705 F.3d at

575 (emphasis added); Sumpter, 868 F.3d at 487 (Stoudemire denied qualified

immunity because the strip search was “devoid of justification”).7

      And where, as here, strip searches “deviat[e] from normal practice and prison

policies,” prison officials have even more “notice” that they are unlawful. Barker v.

Goodrich, 649 F.3d 428, 436 (6th Cir. 2011); see also Jacoby v. Mack, 755 F. App’x

888, 904 (11th Cir. 2018) (per curiam) (denying qualified immunity where the

plaintiff was “singled out” for strip searches that other similarly situated inmates did


6
  Of course, “at least one” of Fugate’s 90 strip searches was not private. See supra
at 38-39.
7
  In addition to the strong directives from this Circuit, substantial case law from
around the country supplied confirmatory notice that some penological interest is
required to conduct private strip searches. See supra at 43-44 (citing cases from the
First, Second, Third, Fifth, Seventh, Eighth, and Ninth Circuits).

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not receive). Erdos “singled out” Fugate for an extra third daily strip search in the

dead of night, Report & Recommendation, R.80, PageID## 1241, 1256, exceeding

the two (already dubious) strip searches the post order imposed on slammer-cell

inmates. SJ Order, R.89, PageID# 1338 (ruling there is “substantial evidence placing

in question the need for multiple strip searches a day of anyone housed in a slammer

cell”). That is not a “bad guess[]” in a “gray area[]” that entitles Erdos to qualified

immunity. Stanfield v. City of Lima, 727 F. App’x 841, 849 (6th Cir. 2018).

      Second, Erdos suggests that because Fugate’s Fourth Amendment claim

involves “ad-hoc interest-balancing,” he must provide a case with identical facts.

Opening Br. 40 (quoting Sumpter, 868 F.3d at 485). But Erdos “improperly ignores

the constitutional violation that [Fugate] claims.” Sexton, 18 F.4th at 192. Fugate

claims there was no penological interest for his 90 strip searches, and thus, there is

nothing to “weigh” in the balancing test. Sumpter, 868 F.3d at 487.

      Third, Erdos asserts that the right to be free from strip searches performed

without any penological interest is “too general” to provide notice of the conduct it

proscribes. Opening Br. 41. That is wrong. Before ordering a strip search, officials

are on notice that the practice “instinctively gives [this Court] the most pause.”

Sumpter, 868 F.3d at 492; Stoudemire, 705 F.3d at 573 (a “strip search is a

particularly extreme invasion” of Fourth Amendment rights (citing Bell v. Wolfish,

441 U.S. 520, 559-560 (1979)). Thus, officials are not, as Erdos argues, operating



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under “general rules” applicable in other situations. Opening Br. 41. Moreover, the

outer limits of Fugate’s clearly established right are precise: Strip searches may not

be unrelated to prison “security and order” or another “penological interest.”

Stoudemire, 705 F.3d at 571. An official must point to some function the strip search

serves aside from “harass[ing] or humiliat[ing]” the prisoner. Id. The “contours” of

that right are “sufficiently clear.” Carroll, 574 U.S. at 16.8

      Requiring Fugate to define his right more narrowly would “defeat[] the

purpose of [Section] 1983.” Ouza, 969 F.3d at 280. Acknowledging that “just as a

court can generalize too much, it can generalize too little,” id., the Sixth Circuit has

defined clearly established rights at a far higher level of generality. E.g., Williams

v. Maurer, 9 F.4th 416, 437-438 (6th Cir. 2021) (“[I]t was clearly established that

warrantless entry into a home without an exception to the warrant requirement

violated clearly established law.”); see also Rhodes, 10 F.4th at 680 (“knowingly or

recklessly disregarding a known excessive risk to the prison worker’s health and

safety in that environment” is not “too general”); Jackson v. City of Cleveland, 925



8
  Erdos highlights Sumpter’s statement that declaring “strip searches must be
supported by a legitimate justification” is too general for qualified immunity
purposes. Opening Br. 40 (quoting Sumpter, 868 F.3d at 487). But under Fugate’s
facts, Erdos’s purported “penological justifications” are “non-existent,” something
Sumpter readily holds violates an inmate’s clearly established Fourth Amendment
rights. 868 F.3d at 482, 486. Whether a legitimate justification “support[s]” a strip
search presents a question of balancing not at issue here. See id. at 486, 487
(emphasis in original).

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F.3d 793, 823 (6th Cir. 2019) (finding it “clearly established” that “prosecutorial

withholding of exculpatory evidence” violates a defendant’s constitutional right).

      A jury should decide whether to believe Fugate’s account, or affording him

the proper deference, Erdos’s. If the jury accepts Fugate’s version and finds that the

strip searches served no penological purpose, then Erdos is not entitled to qualified

immunity.

             C. Fugate’s Eighth Amendment Right To Be Free From Strip
                Searches Maliciously Imposed As Punishment Was Clearly
                Established.

      Under Fugate’s account, Erdos maliciously ordered him to be strip searched

90 times in 30 days to punish him for assaulting Anderson. If the jury believes

Fugate, then Erdos violated his clearly established Eighth Amendment right.

                    1. Case law clearly establishes Fugate’s Eighth Amendment
                       right to be free from strip searches maliciously ordered as
                       punishment.

      For at least thirty years, this Court has recognized that “prison security

measure[s],” including strip searches, violate the Eighth Amendment if the force

“was applied maliciously for the purpose of causing harm,” rather than “in good faith

to restore or maintain discipline.” Cornwell, 963 F.2d at 917. Although the

Cornwell plaintiff was strip searched after participating in a prison riot, the Court

clarified that the Eighth Amendment’s “malicious” strip-search standard applies

both inside and “outside of the prison riot situation.” Id. at 918.



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      Other circuits agree. Under remarkably similar facts, the Third Circuit held

that “thrice-daily visual-body cavity searches” violate the Eighth Amendment when

they are “undertaken maliciously.” Parkell, 833 F.3d at 336. The Seventh Circuit,

as well, has long held that the Eighth Amendment protects inmates from strip

searches intended as “punishment.” Peckham v. Wis. Dep’t of Corr., 141 F.3d 694,

697 (7th Cir. 1998). So too have the Second and Fifth Circuits. See Crawford v.

Cuomo, 796 F.3d 252, 258 (2d. Cir. 2015) (strip searches “undertaken maliciously”

violate the Eighth Amendment); Cooke v. Nealy, 166 F.3d 341, at *3 (5th Cir. 1998)

(per curiam) (holding that plaintiff’s direct evidence of a non-routine, retaliatory

strip search stated an Eighth Amendment claim). Finally, the Eleventh Circuit has

recognized that strip searches violate the Eighth Amendment when they are “devoid

of penological merit”—imposed simply as “punish[ment].” Harris v. Ostrout, 65

F.3d 912, 915, 916 (11th Cir. 1995) (per curiam). Fugate’s Eighth Amendment right

was thus clearly established.

                   2. Erdos’s sole qualified-immunity argument lacks merit.

      Erdos asserts a single qualified-immunity argument: Neither Wilkins nor

Hudson, two of the Supreme Court cases that the Magistrate cited when

recommending the denial of qualified immunity, is sufficient to provide “notice” that

maliciously ordering strip searches as punishment was unconstitutional. Opening

Br. 42. Wrong again. When laying out the Eighth Amendment standard, the



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Magistrate cited four Supreme Court cases: Hudson, 503 U.S. at 7; Whitley, 475

U.S. at 321; Wilson, 501 U.S. at 300; and Wilkins, 539 U.S. at 37. See Report &

Recommendation, R.80, PageID## 1244, 1259, 1261; SJ Order, R.89, PageID# 1342

(adopting this analysis). And this Court has relied specifically on two of these same

cases to apply the Eighth Amendment’s maliciousness standard to strip searches.

      In Cornwell, this Court directly quoted Hudson when holding that strip

searches violate the Eighth Amendment if they are not “applied in a good-faith effort

to maintain or restore discipline,” but “maliciously and sadistically to cause harm.”

963 F.2d at 918 (quoting Hudson, 503 U.S. at 7). And it expressly held that the

lower court’s jury instruction laying out this maliciousness standard for strip

searches “was in accord with the Supreme Court’s holding in Whitley v. Albers.” Id.

at 917; cf. Crawford, 796 F.3d at 258 (citing Whitley and Hudson for the proposition

that strip searches “undertaken maliciously” violate the Eighth Amendment). The

Magistrate’s third cited Supreme Court case, Wilkins, reaffirms the maliciousness

standard that Whitley and Hudson set out decades before, see Report &

Recommendation, R.80, PageID## 1244, 1261 (citing the sections of Wilkins that

cite to Whitley or Hudson), and that this Court has directly applied to strip searches.

      Erdos thus had ample notice that Wilkins and Hudson’s maliciousness

standard applies here.




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                    3. This Court lacks jurisdiction to consider Erdos’s Section
                       1997e(e) argument, which fails on the merits regardless.

      Erdos’s main response is not about qualified immunity at all. He asserts that

Fugate’s Eighth Amendment claim is barred under 42 U.S.C. § 1997e(e), which is

entitled “Limitation on recovery” and states, “No Federal civil action may be

brought by a prisoner confined in a jail, prison, or other correctional facility, for

mental or emotional injury suffered while in custody without a prior showing of

physical injury or the commission of a sexual act.” Opening Br. 43-48. This Court

lacks jurisdiction to consider that argument, which fails on the merits regardless.

      A. The collateral order doctrine gives the Court interlocutory jurisdiction over

a district court’s denial of qualified immunity. That doctrine applies only to

decisions that: (1) “are conclusive”; (2) “resolve important questions separate from

the merits”; and (3) “are effectively unreviewable” if not immediately reviewed.

Himmelreich v. Fed. Bureau of Prisons, 5 F.4th 653, 659 (6th Cir. 2021). Denials

of qualified immunity satisfy this third requirement because qualified immunity,

which “is an immunity from suit, rather than a mere defense to liability . . . is

effectively lost if a case is erroneously permitted to go to trial.” Id. In other words,

the district court’s denial of qualified immunity at summary judgment “finally and

conclusively determines the defendant’s claim of right not to stand trial on the

plaintiff’s allegations.” Moldowan v. City of Warren, 578 F.3d 351, 369 (6th Cir.

2009).

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      By contrast, this Court “can effectively review” whether Section 1997e(e)

bars Fugate’s Eighth Amendment claim “after a final judgment.” Himmelreich, 5

F.4th at 663. Erdos’s own cases illustrate that. In Hoever v. Marks (cited at Opening

Br. 45), the Eleventh Circuit ruled on Section 1997e(e)’s scope after a “three-day”

jury trial. 993 F.3d 1353, 1355 (11th Cir. 2021) (en banc). And this Court issued

its Section 1997e(e) holding in Harden-Bey v. Rutter (cited at Opening Br. 44) only

after the district court dismissed plaintiff’s case and issued final judgment. 524 F.3d

789, 790-791 (6th Cir. 2008).

      Section 1997e(e) is not an “immunity from suit; it is a defense to liability.”

DeCrane, 12 F.4th at 601-602 (holding no interlocutory jurisdiction to review statue-

of-limitations defense); see also Himmelreich, 5 F.4th at 662 (no interlocutory

jurisdiction to consider arguments unrelated to defendant’s “entitlement not to stand

trial”). Section 1997e(e) concerns the “[l]imitation” of a plaintiff’s “recovery,”

without ever mentioning a defendant, much less the defendant’s immunity. 42

U.S.C. § 1997e(e).9 Accepting Erdos’s argument would “swallow the general rule”




9
 Erdos asserts that the District Court’s ruling on Section 1997e(e) was part of its
“den[ial]” of qualified immunity. Opening Br. 43. That is incorrect. The District
Court’s Section 1997e(e) ruling was presented under its own heading, “The Eighth
Amendment and Cognizable Injury,” and analyzed separately from the preceding
qualified immunity discussion. See SJ Order, R.89, PageID## 1342-1343. This
Court lacks interlocutory jurisdiction to consider arguments simply because they
“arose from the same order” denying qualified immunity. DeCrane, 12 F.4th at 601.


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that “a party is entitled to a single appeal, to be deferred until final judgment has

been entered, in which claims of district court error at any stage of the litigation may

be ventilated.” Himmelreich, 5 F.4th at 659 (quoting Digital Equip. Corp. v.

Desktop Direct, Inc., 511 U.S. 863, 868 (1994)).

      B. Regardless, Erdos’s position lacks merit. Erdos essentially asks this Court

to rule that “Section 1997e(e) precludes compensatory damages for any claim that

does not include physical harm.” Aref v. Lynch, 833 F.3d 242, 262 (D.C. Cir. 2016).

This Court, however, has already joined the Seventh and D.C. Circuits to “take[] the

opposite approach.” Id. at 263 (discussing King v. Zamiara, 788 F.3d 207 (6th Cir.

2015)). In King v. Zamiara, this Court held that because “constitutional injuries”

are distinct from “mental and emotional injuries,” the statute does not bar plaintiffs

from “recover[ing] compensatory damages for the violation of his First Amendment

rights.” 788 F.3d at 212-213. And this Court recently reaffirmed (without expressly

deciding) that King’s “logic would seem to apply” in the Eighth Amendment

context. Small v. Brock, 963 F.3d 539, 543-544 (6th Cir. 2020) (citing Lucas v.

Chalk, 785 F. App’x 288, 292 (6th Cir. 2019)).10


10
   Small and Lucas thus undercut Erdos’s argument that King is inapplicable because
it “involve[d] a First Amendment” claim. Opening Br. 45. Erdos’s reliance (at
Opening Br. 44) on Harden-Bey v. Rutter, 524 F.3d 789 (6th Cir. 2008) is also
misplaced. Rutter held that Section 1997e(e) prevents recovery for “emotional or
mental injuries.” 524 F.3d at 795. But Fugate brought claims to “redress
constitutional injuries, which are distinct from mental and emotional injuries.” King,


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      Even if King were strictly a First Amendment case, Fugate could still bring

his Eighth Amendment claim for punitive damages—the District Court’s alternative

reasoning, which Erdos does not even acknowledge. SJ Order, R.89, PageID# 1343

(citing Small). In Small, this Court read its own case law to suggest that “1997e(e)

allows prisoners to seek nominal and punitive damages, as well as injunctive relief,

for alleged Eighth Amendment violations.” 963 F.3d at 543 (citing Lucas, 785 F.

App’x at 292); see also Aref, 833 F.3d at 263 (recognizing every circuit to have

decided the question allows “claims for injunctive relief and punitive damages to

proceed” under Section 1997e(e)).

      This Court lacks interlocutory jurisdiction to consider Erdos’s Section

1997e(e) merits defense. But if it does decide the merits, it should allow Fugate’s

Eighth Amendment claim for both compensatory and punitive damages to proceed.




788 F.3d at 213; see Complaint, R.3, PageID# 50 (seeking compensatory and
punitive damages for the “violation of 8th Amendment right”).

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                                 CONCLUSION

      This Court should either dismiss the appeal for lack of jurisdiction or affirm

the District Court’s denial of summary judgment.



March 10, 2022                         Respectfully submitted,

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      I certify that I electronically filed the foregoing with the Clerk of the Court

for the United States Court of Appeals for the Sixth Circuit by using the appellate

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